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 4                               UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                  -o0o-
 7
     UNITED STATES OF AMERICA,           )
 8                                       )
                       Plaintiff,        )                  Case No. 2:14-mj-155-CWH
 9                                       )
                 vs.                     )                  ORDER MODIFYING BOND
10                                       )
     JASON DEMKO,                        )
11                                       )
                       Defendant.        )
12   ____________________________________)
13          The Court conducted a hearing September 18, 2014 (CM/ECF Entry No. 21). At that
14   hearing the defendant’s appearance bond was modified as follows: The defendant shall submit
15   to a substance abuse assessment and shall participate in a program of inpatient or outpatient
16   substance abuse therapy and counseling as directed by Pretrial Services. The defendant shall pay
17   all or part of the cost of the substance abuse treatment program or evaluation based upon his
18   ability to pay as determined by Pretrial Services.
19          IT IS FURTHER ORDERED that all other conditions of supervised pretrial release
20   previously imposed remain in full effect.
21
                                                                      22nd
22                                                          DATED this ____ day of September, 2014.
23
24
25                                                          ___________________________________
                                                            C.W. HOFFMAN, JR.
26                                                          United States Magistrate Judge
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